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15
                               NORTHERN DISTRICT OF CALIFORNIA
16
                                          SAN JOSE DIVISION
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18
     TESLA, INC.,                                    Case No. 24-cv-03615-EJD
19
                       Plaintiff,                    DEFENDANT’S ADMINISTRATIVE
20                                                   MOTION TO CONSIDER WHETHER
            v.                                       CASES SHOULD BE RELATED
21
     MATTHEWS INTERNATIONAL
22   CORPORATION,

23                     Defendant.
                                                     Judge: Hon. Edward J. Davila
24                                                   Complaint Filed: June 14, 2024
25

26
           PUBLIC / REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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                                                                     ADMIN. MOT. TO RELATE CASES
                                                                                 24-cv-03615-EJD
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         Document submitted entirely under seal.
